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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

__________________________________________
UNITED STATES OF AMERICA,                 )
                                           )
                  Plaintiff,               )
                                           )              Civil Action No. 2:18-cv-62-RSB-BWC
            v.                             )
                                           )
HERCULES LLC,                             )
                                           )
                  Defendant.               )
__________________________________________)


                                      STATUS REPORT

       This status report is filed in response to the Court’s Order dated May 14, 2019. Doc. 18.

       On May 16, 2018, the United States filed a Complaint and a lodged a proposed Consent

Decree concerning the Terry Creek Dredge Spoil Areas/Hercules Outfall Site (Site) in

Brunswick, Georgia. In the proposed Consent Decree, Hercules LLC agreed to implement the

interim remedy selected by the U.S. Environmental Protection Agency (EPA) for the outfall, to

reimburse the EPA $153,009.48 in past response costs at the Site, and to pay future response

costs incurred by the United States in connection with this proposed Consent Decree. Doc. 3-1.

       The United States held a 120-day public comment period on the proposed Consent

Decree from May 23, 2018 to September 20, 2018. The United States has been diligently

reviewing the approximately one hundred public comments received during the extended public

comment period. The United States anticipates it will be in a position in the next 30-60 days to

make a motion to the Court regarding the United States’ position on the lodged Consent Decree.




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Respectfully submitted this 24th day of May 2019.


                                    /s Valerie K. Mann
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